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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                             SHERMAN DIVISION

THE STATE OF TEXAS, et al.,            §
                                       §
      Plaintiffs,                      §
v.                                     §     Civil Action No. 4:20-cv-00957-SDJ
                                       §
GOOGLE LLC,                            §
                                       §
      Defendant.                       §




       GOOGLE LLC’S REPLY IN SUPPORT OF ITS MOTION TO EXCLUDE
             EXPERT TESTIMONY OF JACOB HOCHSTETLER
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         Rather than squarely addressing the irrelevance or unreliability of Hochstetler’s opinions,

Plaintiffs’ Response to Google’s Motion to Exclude Jacob Hochstetler’s Chat-related opinions

(“Response”) tries to shift blame for their shortcomings onto Google, for providing only a “tiny

sliver of log metadata” about Chat messages. Resp. (ECF 784) at 1. Putting aside the irrelevance

of metadata about Chat usage—which reveals no message content but simply when history was

“on” or “off”—it was Plaintiffs who wrote their own fate. Despite learning five years ago about

Google’s Chat retention process, they stayed quiet for years, never inquiring about the existence

of Chat-related metadata. They waited until 2024 to seek (only) the metadata extract Google had

produced a year earlier in Play 1 (which case had nothing to do with display advertising), created

from logs that—by their nature—only contain two months of data. Plaintiffs’ own inaction,

coupled with the irrelevance and unreliability of Hochstetler’s Chat-related opinions, set the stage

for exclusion under Rules 702 and 403.

    I.   HOCHSTETLER’S LOG DATASET OPINIONS                               ARE      IRRELEVANT,
         UNHELPFUL, AND UNFAIRLY PREJUDICIAL.

         The Log Dataset Opinions declare that five high-level Google employees whose day-to-

day jobs were not in display advertising sent ~20,000 messages per year with “history off.” But

Rule 702(a) requires that expert testimony illuminate a “fact in issue.” Mot. at 3–4; Resp. at 6. The

only fact “in issue” is whether Google took reasonable steps to preserve evidence “relevant to the

party’s claim or defense.” 2 And Plaintiffs agree that Hochstetler offers no opinion on whether

unsaved messages were relevant to this case. Resp. at 7. To obscure this irrelevance, Plaintiffs

raise a smokescreen of “facts not in issue.” They exalt the technical nature of Hochstetler’s



1
  All capitalized terms have the same meaning as in Google’s Motion (ECF 762). Unless otherwise
indicated, quotations and citations have been omitted for ease of reading, and all emphasis is added.
2
  Rimkus Consulting Group, Inc. v. Cammarata, 688 F. Supp. 2d 598, 615–16 (S.D. Tex. 2010);
see also ECF 757 at 8–20.


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analysis, id. at 6–7, but Google is not challenging the reliability of his message counts within the

Log Dataset, Mot. at 6-9. The issue is a lack of relevance, substantially outweighed by the unfair

prejudice from allowing him to testify about Chat. 3

          As for that prejudice, Plaintiffs do not address the problem of jurors being swayed by the

“mystique” of expert testimony and struggling to parse Hochstetler’s two separate technical

opinions and relevant qualifications. See Mot. at 8; United States v. Rider, 2022 WL 2813719, at

*2 (E.D. Tex. July 18, 2022), aff’d, 94 F.4th 445 (5th Cir. 2024) (excluding irrelevant expert

opinion; “because of an expert’s stature qua expert, jurors may assign more weight to expert

testimony than it deserves”). 4 And Plaintiffs completely ignore the prejudice from introducing the

Play case, as well as Hochstetler’s misleading emphasis on Google’s CEO.

    II.   HOCHSTETLER IS NOT QUALIFIED TO GIVE THE GENERALIZED
          OPINIONS; THEY ARE UNRELIABLE, IRRELEVANT AND PREJUDICIAL.

          Hochstetler’s Generalized Opinions—which Plaintiffs call “Deletion Opinions”—are

confined to a single paragraph and footnote in his report. ECF 762-2 ¶ 82 & n.106 (using

multiplication to conclude that if 5 employees sent 18,566 “history off” messages over 68 days,

then 141 employees would have sent “close to 1.5 million” annually). Plaintiffs distract from this

rudimentary math by jumbling Hochstetler’s Log Dataset analysis with his Generalized Opinions,

but these “extrapolations” are ones that he is unqualified to make and that lack any statistical basis



3
  Plaintiffs also claim the Log Dataset Opinions are helpful because Plaintiffs’ other Chat-related
expert, Grande, relied on them. Resp. at 7–8. But this only makes them relevant to Grande, not to
any fact “in issue”—Rule 702’s standard. Besides, Grande’s opinions rest on Hochstetler’s
Generalized Opinions (regarding 141 to 202 Google employees over several years) not his
narrower Log Dataset Opinions (regarding 5 Google employees over 68 days). See ECF 764-5.
4
  Plaintiffs mischaracterize McDaniels v. Ross on this point. 2020 WL 5901120 (N.D. Tex. Feb.
6, 2020). The movants in that case never challenged the expert based on confusion from discrete
topics of testimony. See Mot. to Exclude Pl. McDaniels’ Expert, Jeff G. Vick [ECF 131] at 13 (No.
2:17-00240) (Aug. 30, 2019). Instead, their prejudice argument centered on whether “negligence
per se” had been pleaded. Id.


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or methodology.

       Hochstetler is Not Qualified. He has no statistics background, disclaimed basic statistical

knowledge, and confirmed he has never “represented [him]self as an expert in statistical

analysis”—including for this engagement. Mot. at 9-11. 5 To wriggle out of this, Plaintiffs pursue

two (contradictory) arguments. First, they say statistics is irrelevant because Hochstetler analyzed

the full Log Dataset. Resp. at 10. But this conflates his Log Dataset Opinions with his Generalized

Opinions, which extrapolate far beyond the Log Dataset. Extrapolating from a smaller sample to

draw broader conclusions is statistics. 6 Second, they claim he is qualified in statistics, pointing to

a single professional paper (Resp. at 11)—but that involved writing code to understand a large,

complete dataset (computer science), not calculating broad conclusions from an incomplete

sample (statistics). 7 Although experience can qualify an expert, Hochstetler has not “produced

sufficient information about that work to demonstrate his knowledge of statistical science in this

case.” Reid v. Albemarle Corp., 207 F. Supp. 2d 499, 501 (M.D. La. 2001).

       Hochstetler’s Opinions Are Not Reliable. “[R]eliable methodology is in all instances

mandatory.” Hathaway v. Bazany, 507 F.3d 312, 318 (5th Cir. 2007). The standard is not—as

Plaintiffs would have it—“as reliable as possible” or the “best possible estimate.” Resp. at 10.

Hochstetler did nothing resembling statistical analysis and did not even examine whether his

sample of five employees over 68 days in late 2022–23 was representative—which it was not. Mot.



5
  In the very case Plaintiffs rely on, Resp. at 4, the Fifth Circuit upheld the exclusion of certain
expert opinions when the expert “himself admitted his lack of qualification and expertise” in that
specific area. Van Winkle v. Rogers, 82 F.4th 370, 380 (5th Cir. 2023). Just so here.
6
  Plaintiffs also claim that Hochstetler’s Generalized Opinions are not “statistics” because they are
an “opinion on extrapolation from large datasets.” Resp. at 11. But Hochstetler did not take a large
dataset and extrapolate a smaller conclusion—he did just the opposite.
7
  ECF 762-4 at 23:10-24:10 (describing the paper), 25:14–19 (Q. [B]esides this smart city planning
paper that LA County did not implement, have you ever at any other point been hired to perform
a statistical analysis?…A. No.).


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at 12–13. 8 That Hochstetler saw no evidence “to the contrary,” Resp. at 13, means only that he

turned a blind eye to evidence—not that his sample was representative. 9

       Admitting the “paucity in the data,” Resp. at 1, Plaintiffs blame Google for not providing

more Chat metadata. This does not push Hochstetler’s Generalized Opinions over the reliability

line. First, Google did not “destroy[]” any Chat metadata. Resp. at 1, 4 n.1. As recognized by

Hochstetler (but Plaintiffs’ Response ignores), Chat logs are written over every few months

because they are kept only for debugging purposes. ECF 762 at 2. 10 Second, any “paucity” of

additional, potentially relevant log metadata falls at Plaintiffs’ feet. As early as 2020, when Google

first disclosed its preservation practices, 11 Plaintiffs could have inquired about the existence of

Chat logs/metadata, and/or requested then-existing logs for certain ad-tech employees. They did

neither. They instead waited until 2024 to seek (only) the back-end logs that Google had produced

in Play. ECF 348-2 (RFP No. 133, served 4/3/24). 12

       Third, Plaintiffs claim—without authority—that an unreliable expert opinion automatically

becomes admissible if the opposing party (at some point) had more data that might have helped

the analysis satisfy Rule 702. But in Charles v. K-Patents, Inc., for instance (Resp. at 13), the court




8
  Plaintiffs acknowledge the importance of representativeness: their Motion to Exclude Google’s
survey expert Simonson argues that his sample was unrepresentative. ECF 673 at 9–13.
9
  See ECF 762-4 at 99:10–15 (had “no info about the 136 [employees] outside of their names.”).
10
   To be clear, Plaintiffs do not allege that Google spoliated (in the face of a duty to preserve) Chat
metadata (the back-end logs), but rather, Chat messages themselves. See ECF 693 (Mot. for
Spoliation Sanctions). Plaintiffs’ reliance on Jahn v. Equine Services, PSC, 233 F.3d 382 (6th Cir.
2000)—a case where an operation allegedly caused a horse’s death, but the defendant veterinary
hospital failed to keep any post-operative medical records—is misplaced.
11
   See ECF 757 (Google Resp. to Mot. for Spoliation Sanctions) at 3–4.
12
   Cf. Aguilar v. Immigration & Customs Enf't Div. of U.S. Dep't of Homeland Sec., 255 F.R.D.
350, 364 (S.D.N.Y. 2008) (“This lawsuit demonstrates why it is so important that parties fully
discuss their ESI early in the evolution of a case. Had that been done, the Defendants might not
have opposed the Plaintiffs’ requests for certain metadata…. Instead, these proceedings have now
been bogged down in expensive and time-consuming litigation of electronic discovery issues only
tangentially related to the underlying merits….”).


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merely held that when sufficient data is lacking to form a “precise” conclusion, he “may opine as

to a reasonable estimate, as long as the underlying methodology is reliable.” 2020 WL 1480734,

at *5 (E.D. Tex. Mar. 19, 2020), aff’d, 2021 WL 826402 (5th Cir. Mar. 3, 2021) (emphasis added).

And the court—in excluding much of the expert’s testimony—cautioned that “[a]n expert may not,

however, simply hazard an unsubstantiated guess masked as technical expertise” and must “offer

good reason to think that his approach produces an accurate estimate using professional methods.”

Id. at *5. Here, Plaintiffs took numerous depositions, received millions of emails and individual

Chat messages, and propounded dozens of interrogatories. Hochstetler analyzed none of this to

test the representativeness of the Log Dataset before “extrapolating” beyond it. 13

       Hochstetler’s Opinions are irrelevant, unhelpful, and unduly prejudicial. Like his Log

Dataset Opinions, Hochstetler’s Generalized Opinions do not address whether a single one of the

“millions” of “history off” messages was relevant. And Plaintiffs showcase the exact undue

prejudice justifying exclusion: their Response muddles Hochstetler’s opinions, implying his

Generalized Opinions are “rooted in computer science,” span “42 pages” of his report and involve

“custom source code.” Resp. at 15. That describes his Log Dataset Opinions, not his broader

Generalized Opinions—derived by simple math shown in a footnote. ECF 762-2 ¶ 82 & n.106.

This is precisely the type of confusion a jury would experience as the lines blur between

Hochstetler’s opinions and expertise (or lack thereof) in two separate areas.



13
   In Bunch v. Bullard, 795 F.2d 384 (5th Cir. 1986) (cited in Resp. at 10), the issue was not the
admissibility of expert testimony under Daubert or Rule 702, but whether an employer could evade
liability for race discrimination by citing its workforce’s small size. Id. at 395. In Lyondell Chem.
Co. v. Albemarle Corp., 2007 WL 9711338 (E.D. Tex. May 31, 2007) (Resp. at 14), the court’s
reluctance to exclude “otherwise sound methodology because of inherent constraints in the
underlying evidentiary record” involved decades-old missing records of a defendant’s toxic waste
dumping from the 1970s. Id. at *4; 2006 WL 8441057, at *21 (E.D. Tex. Apr. 18, 2006) (relevant
factual findings). No such “sound methodology” or “inherent constraints” exist here. Notably,
Plaintiffs cite cases involving incomplete records on the merits—not discovery-on-discovery.


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Dated: February 7, 2025                   Respectfully submitted,


                                          /s/ Kathy D. Patrick
                                          Kathy D. Patrick
                                          State Bar No. 15581400
                                          KPatrick@gibbsbruns.com
                                          Ayesha Najam
                                          State Bar No. 24046507
                                          ANajam@gibbsbruns.com
                                          Michael Doman
                                          State Bar No. 24131182
                                          MDoman@gibbsbruns.com
                                          Elisa Wulfsberg
                                          State Bar No. 24125469
                                          EWulfsberg@gibbsbruns.com
                                          Gibbs & Bruns LLP
                                          1100 Louisiana, Suite 5300
                                          Houston, Texas 77002
                                          Tel.: (713) 650-8805
                                          Fax: (713) 750-0903

                                          Eric Mahr (pro hac vice)
                                          FRESHFIELDS US LLP
                                          700 13th Street, NW
                                          10th Floor
                                          Washington, DC 20005
                                          Telephone: (202) 777-4545
                                          Email: eric.mahr@freshfields.com

                                          Robert J. McCallum (pro hac vice)
                                          FRESHFIELDS US LLP
                                          3 World Trade Center
                                          175 Greenwich Street
                                          New York, NY 10007
                                          Telephone: (212) 284-4910
                                          Email: rob.mccallum@freshfields.com


                                          Attorneys for Defendant Google LLC




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                               CERTIFICATE OF SERVICE

       I certify that on February 7, 2025, this document was filed electronically in compliance

with Local Rule CV-5(a) and served on all counsel who have consented to electronic service, per

Local Rule CV-5(a)(3)(A).


                                                   /s/ Kathy D. Patrick
                                                   Kathy D. Patrick




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